                         Case 4:19-cv-07123-PJH Document 20-3 Filed 02/27/20 Page 1 of 6



              1      COOLEY LLP
                     TRAVIS LEBLANC (251097) (tleblanc@cooley.com)
              2      KYLE C. WONG (224021) (kwong@cooley.com)
                     JOSEPH D. MORNIN (307766) (jmornin@cooley.com)
              3      101 California Street, 5th floor
                     San Francisco, CA 94111-5800
              4      Telephone: (415) 693-2000
                     Facsimile: (415) 693-2222
              5
                     DANIEL J. GROOMS (D.C. Bar No. 219124) (admitted pro hac vice)
              6      (dgrooms@cooley.com)
                     1299 Pennsylvania Avenue, NW, Suite 700
              7      Washington, DC 20004-2400
                     Telephone: (202) 842-7800
              8      Facsimile: (202) 842-7899

              9      Attorneys for Plaintiffs
                     WHATSAPP INC. and FACEBOOK, INC.
            10
            11                                     UNITED STATES DISTRICT COURT

            12                                 NORTHERN DISTRICT OF CALIFORNIA

            13
            14       WHATSAPP INC., a Delaware corporation,        Case No. 3:19-cv-07123-JSC
                     and FACEBOOK, INC., a Delaware
            15       corporation,                                  DECLARATION OF JOSEPH D. MORNIN IN
                                                                   SUPPORT OF PLAINTIFFS’ APPLICATION
            16                                                     FOR ENTRY OF DEFAULT
                                     Plaintiffs,
            17                                                     Hon. Jacqueline S. Corley
                           v.
            18
                     NSO GROUP TECHNOLOGIES LIMITED
            19       and Q CYBER TECHNOLOGIES LIMITED,

            20                       Defendants.

            21

            22

            23
            24

            25
            26

            27

            28
  COOLEY LLP
ATTO RNEY S AT LAW                                             1                            MORNIN DECLARATION
 SAN FRA NCI S CO                                                                      CASE NO. 3:19-CV-07123-JSC
                          Case 4:19-cv-07123-PJH Document 20-3 Filed 02/27/20 Page 2 of 6



              1              I, Joseph D. Mornin, declare:

              2              1.        I am an attorney with the law firm of Cooley LLP and counsel for Plaintiffs

              3      WhatsApp Inc. and Facebook, Inc. in this matter. The information in this declaration is based on my

              4      personal knowledge of this matter and information I obtained following a reasonable investigation of

              5      the events described below. If called as a witness, I could competently testify to the truth of each

              6      statement.

              7              Plaintiffs’ Request for Judicial Notice

              8              2.        Concurrently filed with Plaintiffs’ Application for Entry of Default is Plaintiffs’

              9      Request for Judicial Notice (“RJN”). Exhibits 1 through 3 below are attached to Plaintiffs’ RJN.

            10               3.        Attached to Plaintiffs’ RJN as Exhibit 1 is a true and correct copy of a press release

            11       published online by Defendant NSO Group Technologies Ltd. on October 29, 2019, available at

            12       https://www.prnewswire.com/news-releases/nso-group-statement-on-facebook-lawsuit-

            13       300947701.html and archived at

            14       https://web.archive.org/web/20191209233631/https://www.prnewswire.com/news-releases/nso-

            15       group-statement-on-facebook-lawsuit-300947701.html.

            16               4.        Attached to Plaintiffs’ RJN as Exhibit 2 is a true and correct copy of the “Board of

            17       Directors” page on NSO Group’s website, available at https://www.nsogroup.com/about-us/board-

            18       of-directors/ and archived at

            19       http://web.archive.org/web/20191228031914/https://www.nsogroup.com/about-us/board-of-

            20       directors/.

            21               5.        Attached to Plaintiffs’ RJN as Exhibit 3 is a true and correct copy of a public filing

            22       under the Foreign Agents Registration Act by Mercury Public Affairs, LLC, dated January 6, 2020,

            23       available at https://efile.fara.gov/docs/6170-Exhibit-AB-20200106-74.pdf and archived at

            24       http://web.archive.org/web/20200211030407/https://efile.fara.gov/docs/6170-Exhibit-AB-20200106-

            25       74.pdf. This filing includes a “Consulting Services Agreement” executed by Q Cyber and Mercury

            26       Public Affairs.

            27

            28
  COOLEY LLP
ATTO RNEY S AT LAW                                                       2                              MORNIN DECLARATION
 SAN FRA NCI S CO                                                                                  CASE NO. 3:19-CV-07123-JSC
                         Case 4:19-cv-07123-PJH Document 20-3 Filed 02/27/20 Page 3 of 6



              1             Plaintiffs’ attempts to notify defendants of this litigation and request waiver of service:

              2             6.      Plaintiffs made substantial efforts to notify Defendants of this lawsuit and request a

              3      waiver of service of the summons. Those efforts included sending the following materials (“Service

              4      Materials”) to each Defendant and the members of their Boards of Directors:

              5                 A cover letter that requested contact information for Defendants’ counsel; requested a

              6                  waiver of service of the summons within 60 days; and informed Defendants of their duty

              7                  to preserve all documents that may be relevant to this litigation. A true and correct copy

              8                  of the cover letter sent to NSO Group’s CEO and NSO Group board member, Shalev

              9                  Hulio, is attached as Exhibit 4. Each of the cover letters sent to Defendants and their

            10                   board members were substantially identical.

            11                  The Complaint, Complaint exhibits, and civil cover sheet filed in this case (ECF Nos. 1,

            12                   1-1, & 1-2).

            13                  U.S. District Court Forms AO 398 (“Notice of a Lawsuit and Request to Waive Service

            14                   of a Summons”) and AO 399 (“Waiver of the Service of Summons”). True and correct

            15                   copies of those materials are attached as Exhibit 5.

            16                  The standing order for all judges of the Northern District of California (titled “Contents

            17                   of Joint Case Management Statement”); the civil standing order for Magistrate Judge

            18                   Jacqueline Scott Corley; and the Court’s order setting ADR deadlines and the initial case

            19                   management conference (ECF No. 9).

            20              7.      In paragraphs 8 to 17 below, I describe each communication I made to Defendants,

            21       Defendants’ agents, and Defendants’ board members.

            22              8.      On November 4, 2019, I sent the Service Materials by email to Shalev Hulio, NSO

            23       Group’s CEO and board member, at shalevidc@gmail.com, shalev@nsogroup.com,

            24       media@nsogroup.com, and info@nsogroup.com. True and correct copies of those emails are

            25       attached as Exhibit 6.

            26              9.      On November 4, 2019, I emailed the Service Materials to Eran Gorev, who is

            27       identified as Q Cyber’s CEO in the company’s Israeli corporate filings. However, on November 12, I

            28
  COOLEY LLP
ATTO RNEY S AT LAW                                                     3                              MORNIN DECLARATION
 SAN FRA NCI S CO                                                                                CASE NO. 3:19-CV-07123-JSC
                          Case 4:19-cv-07123-PJH Document 20-3 Filed 02/27/20 Page 4 of 6



              1      received a response from Gorev, in which Gorev stated that he no longer serves in that role. True and

              2      correct copies of those emails are attached as Exhibit 7.

              3             10.      On November 4, 2019, I sent the Service Materials by DHL Express to Defendants’

              4      shared office in Israel. The Service Materials were delivered to the shared office and signed for at

              5      reception on November 10. True and correct copies of the delivery receipts are attached as

              6      Exhibit 8.

              7             11.      On November 8, 2019, I sent the Service Materials to each of NSO Group’s board

              8      members by email at the following email addresses:

              9                  Mickael Betito: mickael.betito@gmail.com.

            10                   Stefan Kowski: kowski@novalpina.pe.

            11                   Omri Lavie: omrilavie@hotmail.com, omri@foundersgroup.com,

            12                    clockwize2003@gmail.com, omri@nsogroup.com.

            13                   Stephen Peel: speel@smpeel.com.

            14                   Gunter Schmid: guenter.schmid@kscf.de.

            15                   Gerhard Schmidt: prof.gerhard_schmidt@web.de, gerhard.schmidt@weil.com. I received

            16                    an automatic reply indicating that the email to prof.gerhard_schmidt@web.de was

            17                    undeliverable. I received no other automatic replies, which suggests that the other email

            18                    addresses (including the alternative email address for Schmidt) were valid and the

            19                    Service Materials were received by the email recipient.

            20       A true and correct copy of the email sent to Omri Lavie is attached as Exhibit 9. Each of the other

            21       emails sent to the NSO Group’s board members was substantially identical.

            22              12.      On November 9, 2019, I sent the Service Materials by FedEx to the office of each

            23       NSO Group board member. Those materials were delivered and signed for between November 11

            24       and 13. True and correct copies of the delivery receipts are attached as Exhibit 10.

            25              13.      On November 13, 2019, my agent hand-delivered the Service Materials to both

            26       Defendants at their shared office in Israel. Shir Kovner, who serves as the “legal advisor” for both

            27       Defendants, personally signed the receipt for the hand-delivered Service Materials. True and correct

            28
  COOLEY LLP
ATTO RNEY S AT LAW                                                     4                              MORNIN DECLARATION
 SAN FRA NCI S CO                                                                                CASE NO. 3:19-CV-07123-JSC
                          Case 4:19-cv-07123-PJH Document 20-3 Filed 02/27/20 Page 5 of 6



              1      copies of the messenger’s affidavit and the receipt with Kovner’s signature are attached as

              2      Exhibit 11.

              3              14.      On November 15, 2019, my agent hand-delivered the Service Materials to Omri

              4      Lavie, NSO Group’s co-founder and a current board member, by delivering the Service Materials to

              5      his wife at their residence in New Jersey. A true and correct copy of the proof of service is attached

              6      as Exhibit 12.

              7              15.      On November 21, 2019, I sent the Service Materials addressed to Nachum Falek, Q

              8      Cyber and NSO Group’s CFO, by DHL Express to Defendants’ shared office in Israel. The Service

              9      Materials were delivered to the office and signed for at reception on November 24. A true and

            10       correct copy of the delivery receipt is attached as Exhibit 13.

            11               16.      On November 22, 2019, I attempted to send the Service Materials by email to

            12       Nachum Falek, Q Cyber and NSO Group’s CFO, by email at nfalek@allot.com and

            13       nachum@nsogroup.com. True and correct copies of those emails are attached as Exhibit 14. I

            14       received automatic replies indicating that both emails were undeliverable.

            15               17.      On November 24, 25, and 27, 2019, my agent attempted to hand-deliver the Service

            16       Materials to Nachum Falek at Defendants’ shared office and Falek’s home in Israel. When those

            17       attempts did not succeed, my agent sent the Service Materials by registered mail in Israel to

            18       Defendants’ shared office and left the envelope containing the Service Materials in Falek’s mailbox

            19       at his residence. True and correct copies of the messenger’s affidavits and photographs showing the

            20       envelope in Falek’s residential mailbox are attached as Exhibit 15.

            21               18.      As of the date of this filing, Defendants have not responded to the Complaint or

            22       appeared in this litigation.

            23               19.      On February 3, 2020, Plaintiffs’ counsel was contacted for the first time by Joseph

            24       Akrotirianakis, an attorney at King & Spalding LLP, who stated that his firm represents Defendants

            25       NSO Group and Q Cyber. On February 4, my colleague Kyle Wong, also an attorney at Cooley LLP,

            26       and I participated in a brief phone conversation with defense counsel Joseph Akrotirianakis and

            27       Aaron Craig from King & Spalding LLP. During that conversation, Mr. Akrotirianakis stated that he

            28       was not currently willing to enter an appearance as an attorney of record in this case. Mr. Wong
  COOLEY LLP
ATTO RNEY S AT LAW                                                     5                             MORNIN DECLARATION
 SAN FRA NCI S CO                                                                               CASE NO. 3:19-CV-07123-JSC
                          Case 4:19-cv-07123-PJH Document 20-3 Filed 02/27/20 Page 6 of 6



              1      stated that we were concerned about discussing the litigation with counsel who are not attorneys of

              2      record. Later that day, I confirmed by email that we would only discuss the litigation with an

              3      attorney of record. In subsequent conversations by phone, Mr. Akrotirianakis stated that he would

              4      not appear as an attorney of record in this case unless Plaintiffs agree to a briefing schedule.

              5             20.     On February 14, 2020—the day after the initial case management conference—Mr.

              6      Akrotirianakis contacted Plaintiffs’ counsel by email, stating: “Please let me know when you are

              7      available to discuss. I have reviewed the docket entry from yesterday’s hearing. Thanks.” A true

              8      and correct copy of this email is attached as Exhibit 16. In a phone conversation on February 17,

              9      Mr. Akrotirianakis once again stated that he would not appear as an attorney of record.

            10              Service via the Hague Convention:

            11              21.     On November 8, 2019, I engaged Aaron Lukken of Viking Advocates, LLC to

            12       accomplish service on Defendants under the Hague Convention.

            13              22.     On December 31, 2019, Lukken reported that his agent, Eitan Newman, had

            14       successfully served both Defendants at their shared office on December 17, 2019, in accordance with

            15       the applicable provisions of the Hague Convention. A true and correct copy of Lukken’s report is

            16       attached as Exhibit 17. See also Declaration of Eitan Newman (filed concurrently with this

            17       Application) ¶¶ 3–8 & Ex. 1 (establishing that both Defendants were properly served in accordance

            18       with the Hague Convention on December 17, 2019).

            19              23.     Plaintiffs have not yet received the formal certificate of Hague service from the

            20       Central Authority in Israel.

            21              I declare under penalty of perjury that the foregoing is true and correct. Executed at San

            22       Francisco, California, on the 27th day of February, 2020.

            23
                                                                    /s/ Joseph D. Mornin
            24                                                      Joseph D. Mornin
            25
            26

            27

            28
  COOLEY LLP
ATTO RNEY S AT LAW                                                     6                              MORNIN DECLARATION
 SAN FRA NCI S CO                                                                                CASE NO. 3:19-CV-07123-JSC
